     Case 2:21-cv-01530-AMM       Document 391      Filed 11/20/24   Page 1 of 4            FILED
                                                                                   2024 Nov-20 PM 03:21
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


BOBBY SINGLETON, et al.,
          Plaintiffs,

              v.
                                                 Case No. 2:21-cv-01291-AMM
WES ALLEN, in his official capacity as
Alabama Secretary of State,                       THREE-JUDGE COURT
            Defendant.


EVAN MILLIGAN, et al.,
          Plaintiffs,

              v.
                                                 Case No. 2:21-cv-01530-AMM
WES ALLEN, in his official capacity as
Alabama Secretary of State,                       THREE-JUDGE COURT
            Defendant.


MARCUS CASTER, et al.,
         Plaintiffs,

              v.
                                                 Case No.: 2:21-cv-1536-AMM
WES ALLEN, in his official capacity as
Alabama Secretary of State,
            Defendant.


Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:

                                         ORDER

      These congressional redistricting cases are again before the Court on joint

motions to amend the scheduling order. Doc. 257 in Singleton; Doc. 390 in Milligan;
     Case 2:21-cv-01530-AMM       Document 391     Filed 11/20/24   Page 2 of 4




Doc. 305 in Caster. The parties represent that counsel for the Milligan plaintiffs and

the State are in trial for Stone v. Allen, Case No. 21-cv-1531, which is scheduled to

be completed by November 22, 2024, and that an extension of deadlines will allow

for more adequate time to prepare pretrial materials in these cases. Doc. 305 in

Milligan at 2. For good cause, these motions are GRANTED.

      The Court has considered the parties’ positions with respect to the appropriate

schedule for pretrial proceedings, the serious time exigencies surrounding the fair

and timely resolution of these cases, including the provisions of Alabama’s election

law that set deadlines applicable to the 2026 congressional elections (Alabama Code

Section 17-13-5(a), which effectively establishes a deadline of January 30, 2026 for

candidates to qualify with major political parties to participate in the 2026 primary

election for the United States House of Representatives and Senate, and Alabama

Code Section 17-13-3(a), which establishes the date of that primary election as May

26, 2026), and the extraordinary and time-sensitive demands placed on the parties

and the Court in connection with these proceedings. On the basis of these

considerations and the joint motions, the Court ORDERS the following deadlines:

   1. The parties shall file witness lists, designations of deposition testimony for

      trial, and exhibit lists under Rule 26(a)(3) on or before DECEMBER 6, 2024.

   2. The parties shall file any motions in limine, Daubert motions, and objections

      to exhibits on or before DECEMBER 18, 2024.


                                          2
Case 2:21-cv-01530-AMM   Document 391   Filed 11/20/24   Page 3 of 4
Case 2:21-cv-01530-AMM   Document 391   Filed 11/20/24   Page 4 of 4




                               4
